Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 1 of 10




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 20-CV-20961-WILLIAMS/LOUIS

   SILVA HARAPETI, on behalf of herself and
   all other similarly situated individuals,

             Plaintiff,

   v.

   CBS TELEVISION STATIONS, INC.,
   a Foreign Profit Corporation, et al.,

             Defendants.
       __________________________________/

                           AMENDED1 REPORT AND RECOMMENDATION

             This matter is before the Court on CBS Television Stations, Inc. (“CBS Television”) and

       CBS Broadcasting Inc.’s (“CBS Broadcasting”) (collectively, “Defendants”) 2 Motion for

       Decertification (ECF No. 157). This matter was referred to the undersigned United States

       Magistrate Judge for a Report and Recommendation by the Honorable Kathleen M. Williams,

       United States District Judge (ECF No. 159). Plaintiff’s response in opposition is a combined

       Omnibus Response to Defendants’ Motion for Decertification and Motion for Summary

       Judgment (ECF No. 176), and Defendants filed a Reply in Further Support of Motion for

       Decertification (ECF No. 183). Upon review of the Motion, Response, Reply, the pertinent

       parts of the record, and being otherwise fully advised in the premises, the undersigned



   1
     Plaintiff filed a limited objection to the undersigned’s Report and Recommendation (ECF No.196, vacated by ECF
   No. 210), with respect to the finding that Plaintiff Jones’ claims are time barred (ECF No. 199). Upon reflection and
   following oral argument on January 25, 2022, the undersigned vacated the Report and Recommendation and this
   Amended Report follows in its stead.
   2
     CBS Broadcasting Inc., formally known as Group W Television Stations Inc., doing business as CBS Television
   Stations and/or CBS Television Stations Group is a Foreign Profit Corporation doing business in Miami-Dade County,
   Florida, which controlled Defendant CBS Television.

                                                            1
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 2 of 10




    recommends GRANTING Defendants’ Motion for Decertification.

   I.      BACKGROUND

           This action was originally filed by Silva Harapeti on behalf of herself and other similarly

    situated individuals against Defendant CBS Television, for unpaid wages and overtime due to

    misclassification of employee status under the Fair Labor Standards Act, 29 U.S.C. §§ 201-219

    (“FLSA”), and for unlawful, retaliatory discharge in violation of the FLSA (ECF No. 1-1).

    Plaintiff worked for CBS Television as a freelance journalist, covering news stories across South

    Florida from February 2011 to March 2018 (ECF No. 95 at ¶¶ 8, 14). While initially filed in state

    court, this matter was removed to the Southern District of Florida on March 2, 2020 (ECF No.

    1). Plaintiff filed an Amended Complaint (ECF No. 95) against Defendants.

           It is averred that Plaintiff worked as a freelance journalist paid on a “per diem” basis: she

    was paid at a rate of $210.00 per day, regardless of the number of hours she worked on any given

    day, and was only paid for days she worked (id. at ¶ 15). Plaintiff alleges that throughout her

    employment as a freelance journalist, she worked more than 40 hours a week, but was never paid

    proper overtime rates in violation of federal and state law. Plaintiff also contends that her

    classification as a freelance journalist was incorrect due to the number of hours worked, her

    qualifications, and the amount of control CBS Television maintained over her work (id. at ¶¶ 17,

    21, 24).

           Plaintiff filed a Motion for Conditional Certification and Facilitation of Court-Authorized

    Notice Pursuant to 29 U.S.C. § 216(b) (ECF No. 24), which was corrected on July 8, 2020 (ECF

    No. 28). Plaintiff’s Motion sought conditional certification on the basis that she and other

    similarly situated employees performed work that did not exempt them from receiving overtime

    pay under the FLSA, as they did not exercise independent discretion or administrative/managerial


                                                   2
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 3 of 10




    judgment to perform services for CBS (id. at ¶ 9). The undersigned recommended granting the

    Motion and certifying a collective action, limited to those similarly situated employees who

    worked as Freelance Television Journalists or Producers for CBS Television at WFOR-TV in

    Miami in the three years preceding the filing of the action (ECF No. 112 at 16). On January 11,

    2021, the Court adopted the Report and Recommendation and conditionally certified the

    collective action (ECF No. 121).

           Plaintiff filed multiple Notices of Consent to Join Opt-In Plaintiffs (ECF Nos. 25-1, 29-

    1, 45, 104, 105, 108, 109, 128, 129), which Defendants moved to dismiss (ECF Nos. 106, 110)

    and strike (ECF No. 130). The Court denied Defendants’ respective Motions (ECF Nos. 158,

    180), adopting the undersigned’s corresponding Reports and Recommendations (ECF Nos. 132,

    152). The undersigned explained that Defendants can renew their arguments as to why certain

    Opt-In Plaintiffs do not fall into the conditional class during the second stage of this litigation

    when the Court addresses decertification at the close of discovery (id.). Discovery in this matter

    closed on August 13, 2021. Thus, the issue of decertification is ripe for review. Defendants filed

    the instant Motion on September 24, 2021 (ECF No. 157).

   II.      DISCUSSION

          The FLSA permits a plaintiff to bring a collective action on behalf of similarly situated

   persons subject to the requirement that prospective plaintiffs file a written consent in the court where

   the action is brought. See 29 U.S.C. § 216(b); Hipp v. Liberty Nat’l Life Ins. Co., 252 F.3d 1208,

   1216 (11th Cir. 2001) (citations omitted).

          The Eleventh Circuit has suggested a two-part analysis to determine whether a plaintiff is

   sufficiently situated to other employees in order support an opt-in class action. See Hipp, 252 F.3d

   at 1219; Morgan v. Family Dollar Stores, Inc., 551 F.3d 1233, 1260 (11th Cir. 2008). In making a


                                                     3
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 4 of 10




   determination at the first stage, known as the notice stage, a court must decide whether, in addition

   to the current plaintiff, there exist additional employees that (1) are situated with sufficient

   similarity to require that they be notified of the pending case in order to be given the option to opt-

   in, and (2) desire to opt-in to the litigation. Id. The legal standard to satisfy the similarly situated

   requirement for the notice stage is “fairly lenient.” Morgan, 551 F.3d at 1261; Hipp, 252 F.3d at

   1218. It essentially amounts to conditional certification, which can be analyzed with greater

   scrutiny once discovery has been undertaken. See Morgan, 551 F.3d at 1261. Once plaintiff

   satisfies this standard, the action may be conditionally certified, and the putative class can then be

   given notice and provided an opportunity to opt-in. Hipp, 252 F.3d at 1217.

           The second tier of analysis—at issue in the Motion—re-examines the question of

   certification after discovery is complete. See id. At this stage, the court has much more information

   on which to base its decision and makes a factual determination on whether the opt-in plaintiffs are

   similarly situated.    If the plaintiffs are similarly situated, the district court may allow the

   representative action to proceed to trial. If the plaintiffs are not similarly situated, the district court

   decertifies the class, and the opt-in plaintiffs are dismissed without prejudice.              The class

   representatives—i.e. the original plaintiffs—proceed to trial on their individual claims. Id. at 1218

   (citation omitted).

           In opposing a motion for decertification, plaintiffs bear the burden of proving class members

   are “similarly situated.” Anderson v. Cagle’s, Inc., 488 F.3d 945, 952 (11th Cir. 2007) (citations

   and internal quotation marks omitted). “[A]lthough the FLSA does not require potential class

   members to hold identical positions, . . . the similarities necessary to maintain a collective action

   under [section] 216(b) must extend beyond the mere facts of job duties and pay provisions.” Id. at

   953 (alterations added; internal citations and quotation marks omitted).



                                                      4
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 5 of 10




          The decertification decision is based on the following factors: “1) the disparate factual and

   employment settings of the individual plaintiffs; 2) the various defenses available to defendants that

   appear to be individual to each plaintiff and 3) fairness and procedural considerations.” Blake v.

   Batmasian, 197 F. Supp. 3d 1367, 1371 (S.D. Fla. 2016) (citation and internal quotation marks

   omitted).

          “A plaintiff may satisfy its burden by providing sufficient evidence showing that the

   employer engaged in a policy or pattern of FLSA violations. Alternatively, a plaintiff may establish

   that others are similarly situated without pointing to a particular plan or policy if the plaintiff makes

   some rudimentary showing of commonality between the basis for his claims and that of the potential

   claims of the proposed class, beyond the mere facts of job duties and pay provisions . . .

   Ultimately[,] the Court must determine whether, based upon the particular facts of the case, the

   similarities among the putative class members are sufficient so that it is more practical, efficient,

   and fair to proceed as a collective action rather than requiring separate actions.” Gelber v. Akal

   Sec., Inc., No. 16-23170-CIV, 2016 WL 8678059, at *5 (S.D. Fla. Oct. 5, 2016) (alterations added;

   brackets and internal citations and quotation marks omitted), report and recommendation adopted,

   No. 16-23170-CIV, 2016 WL 8678541 (S.D. Fla. Oct. 27, 2016).

          To meet this Court’s definition of the class, proposed members must be similarly situated

   employees who worked as Freelance Television Journalists or Producers for CBS Television at

   WFOR-TV in Miami in the three years preceding the filing of this action (ECF No. 121).

   Defendants argue that the nine Opt-In Plaintiffs are not members of the collective certified by this

   Court. Specifically, Defendants allege eight of the nine Opt-In Plaintiffs do not meet the class

   definition: Champion, Alvarez, Dennis, Langford, Helberg, Francois, Henry, and Nelson. The final

   Opt-In Plaintiff, Jones, worked in a qualifying job position, however, Defendants argue she is also



                                                     5
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 6 of 10




   not a viable member of the collective because her claim is time barred under the applicable

   limitations period. Defendants also contend that even if Jones’ claims are not time barred, her

   inclusion in this suit leaves only one opt-in, and thus Defendants seek decertification on this

   additional basis. ECF No. 183.

          Plaintiff’s Omnibus Response dedicates a single paragraph to opposing the Motion for

   Decertification. Plaintiff first concedes that seven of the nine Opt-In Plaintiffs—Champion,

   Alvarez, Dennis, Langford, Helberg, Henry, and Nelson—are not members of the collective

   conditionally certified by this Court (ECF No. 176 at 15) (“Plaintiff does not dispute the bulk of

   Defendant’s Statement of Material Facts on the points regarding the Collective Action and, as such,

   responds to the Motion for Decertification in the same way, with the exception of Tania Francois

   and Tiani Jones . . .”). Thus, the Court turns its attention to Ms. Francois and Ms. Jones.

          On February 10, 2021, Tania Francois filed a notice of consent to join this lawsuit (ECF No.

   128). Ms. Francois worked as an assignment editor for CBS Television at WFOR-TV in Miami

   from January 2016 to April 2018 (ECF No. 169-1 at 15:18–16:6). Ms. Francois began as part-time,

   hourly, and overtime eligible until 2016, when she became a full-time salaried employee (id. at

   16:7–17:25). Defendants contend that Ms. Francois’ occupied position is not freelance nor

   remotely similar to Plaintiff’s. Plaintiff does not refute that Ms. Francois was not freelance (ECF

   No. 176 at 15). In Response, Plaintiff avers “that Assignment editors, Producers and Reporters are

   all similarly situated” (id.). Specifically, Plaintiff relies on Ms. Francois’ testimony that “we’re all

   producer[s], we’re all reporters, we’re all assignment editors . . . everyone’s wearing multiple hats.”

   (ECF No. 169-1 at 36:21–37:2).

          In Reply, Defendants contend “[t]he cited portion of Francois’ testimony does not support

   that assignment editors, producers, and reporters are all similarly situated” (ECF No. 176 at 15).



                                                     6
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 7 of 10




   During her deposition, Ms. Francois was specifically asked whether she agreed that producers were

   a distinct role from her role as an assignment editor to which she answered, “absolutely” (ECF No.

   169-1 at 26:22–26:25). Furthermore, when asked whether a reporter was a distinct role from an

   assignment editor, Ms. Francois again replied, “absolutely” (id. at 27:1–27:8).

          “The determination of whether an employee is covered by the FLSA . . . requires an

   individual factual inquiry regarding the actual work performed by each individual employee . . .

   [and] . . . [t]his highly individualized inquiry is not appropriate as a collective action.” Rojas v.

   Garda CL Se., Inc., No. 13-23173-CIV, 2015 WL 5084135, at *6 (S.D. Fla. Aug. 28, 2015).

          Plaintiff’s reliance on Ms. Francois’ testimony that “we’re all producer[s], we’re all

   reporters, we’re all assignment editors,” does not support the inference for which Plaintiff advances

   it—that the positions are in fact substantially similar. Plaintiff does not provide evidence that Ms.

   Francois performed the same duties as Plaintiff. As an Assignment Editor, Ms. Francois’ was in a

   support role, steering the news stories, coordinating interviews, and collecting the relevant

   information for the on-air reporters. She “worked in the background,” (ECF No. 169-1 at 25:11–

   12), as the “third wheel” in relation to the reporters and producers (id. at 27:4).

          The primary duty of those working as Freelance Television Journalists or Producers, on the

   other hand, is distinct from that of an Assignment Editor. As Plaintiff herself described, her primary

   duty was to “factually produce[] reports and/or report [] news events” (ECF No. 112 at 10 (citing

   ECF No. 28 at 5)). The Court found that conditional certification was appropriate for a class that

   included similarly situated individuals who worked as Freelance Television Journalists or Producers

   for CBS Television at WFOR-TV in Miami (ECF No. 121 at 1). Accordingly, Ms. Francois, as a

   distinct Assignment Editor, is not a member of the collective action defined by this Court.




                                                     7
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 8 of 10




          Pursuant to § 216(b), this Court certified the collective action limited to “similarly situated

   employees . . . in the three years preceding the filing of this action” (ECF No. 121). Under the

   FLSA, an action “shall be considered to be commenced in the case of any individual claimant . . .

   on the subsequent date on which such written consent is filed in the court in which the action was

   commenced.” See 29 U.S.C. § 256; Garcia v. Sedanos Mkt., Inc., No. 19-CV-22014-UU, 2019 WL

   13089700, at *3 (S.D. Fla. July 17, 2019); Gutescu v. Carey Int'l, Inc., No. 01-4026-CIV-

   MARTINEZ, 2003 WL 25586749, at *17 (S.D. Fla. July 21, 2003). Ms. Jones worked for CBS

   Television at WFOR-TV in Miami from April 2016 until July 5, 2017 (ECF No. 165-1 at 71:6–

   71:8; 46:23–47:1). Defendants contend that because Ms. Jones worked her last day with WFOR

   on July 5, 2017, her Consent to Join into Lawsuit was untimely when filed on July 8, 2020, three

   days and three years after she last worked for WFOR. Accordingly, she is not a class member,

   Defendants contend, as she has no timely claim to raise.

          In Response, Plaintiff argues that the FLSA limitations period should run from when Ms.

   Jones received her final paycheck, instead of the last day Ms. Jones worked at WFOR-TV. Ms.

   Jones testified that she was usually paid weekly and would have received her final paycheck via

   direct deposit the following Friday after her last day of employment (ECF 165 at 46:1–47:6).

   Plaintiff contends Ms. Jones was not made aware of the non-payment of any overtime wages until

   she received her paycheck, which occurred after she terminated her employment at WFOR-TV

   (ECF No. 176 at 15 (citing 29 C.F.R. § 778.106 (“The general rule is that overtime compensation

   earned in a particular workweek must be paid on the regular pay day for the period in which such

   workweek ends.”))). Moreover, Plaintiff avers that “the FLSA statute of limitations runs week by

   week,” (ECF No. 176 at 15), effectively arguing that the time between her final day of employment




                                                   8
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 9 of 10




   and a week later when she received her final paycheck extended her employment into the FLSA

   limitations period. Plaintiff’s argument is not supported by citation to case law.

          Though Defendants complain that Ms. Jones’ explanation “lacks credulity,” (ECF No. 183

   at 2), they have not advanced contrary evidence of the date on which her last paycheck was

   deposited to refute her claim. On this Motion, however, the Court need not decide this contested

   issue. Defendants have asserted an affirmative defense, on which Defendants bear the burden of

   proof, unique to this putative class member; this factor weighs against class certification. Moreover,

   the Court limited the class to similarly situated employees who worked for Defendants within three

   years of joining the suit (ECF Nos. 29-1; 121). Even assuming that she may timely assert her

   individual claims against Defendants, her last day of work places her outside of the class definition,

   a class defined by parameters intended to identify similarly situated employees.

          Finally, even considering Ms. Jones’ claims, eight of the nine other Opt-In Plaintiffs are not

   similarly situated to Plaintiff and at most, the case would proceed with two plaintiffs, one for whom

   Defendants have asserted a unique affirmative defense. Accordingly, the undersigned recommends

   that Defendants’ Motion to decertify the class be GRANTED.                  The undersigned further

   recommends that the Opt-In Plaintiffs be dismissed without prejudice. See Mickles on behalf of

   herself v. Country Club Inc., 887 F.3d 1270, 1278 (11th Cir. 2018) (“opt-in plaintiffs remain party

   plaintiffs until the district court determines they are not similarly situated and dismisses them.”).

   III.   RECOMMENDATIONS

          For the foregoing reasons, I recommend that Defendants’ Motion for Decertification (ECF

   No. 157) be GRANTED.

          A party shall serve and file written objections, if any, to this Amended Report and

   Recommendation with the Honorable Kathleen M. Williams, United States District Court Judge for



                                                    9
Case 1:20-cv-20961-KMW Document 211 Entered on FLSD Docket 01/31/2022 Page 10 of 10




    the Southern District of Florida, by no later than February 8, 2022. 3 Failure to timely file

    objections will bar a de novo determination by the District Judge of anything in this

    recommendation and shall constitute a waiver of a party’s “right to challenge on appeal the district

    court’s order based on unobjected-to factual and legal conclusions.” 11th Cir. R. 3-1 (2016); 28

    U.S.C. § 636(b)(1)(C); see also Harrigan v. Metro-Dade Police Dep’t Station #4, 977 F.3d 1185,

    1191-92 (11th Cir. 2020).

            RESPECTFULLY SUBMITED in Chambers at Miami, Florida this 31st day of January,

    2022.




                                                               LAUREN LOUIS
                                                               UNITED STATES MAGISTRATE JUDGE




    3
     The objection period here has been calculated to run from the date on which I announced my recommendation in
    open court, ECF No. 209.

                                                         10
